      Case 2:16-cr-00034-WFN      ECF No. 278     filed 11/04/20   PageID.952 Page 1 of 2


                                                                                    FILED IN THE
                                                                                U.S. DISTRICT COURT
                                                                          EASTERN DISTRICT OF WASHINGTON
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                                                                          Nov 04, 2020
                                                                               SEAN F. MCAVOY, CLERK

 3
 4                              UNITED STATES DISTRICT COURT

 5                           EASTERN DISTRICT OF WASHINGTON
 6   UNITED STATES OF AMERICA,
                                                           No.     2:16-CR-0034-WFN-1
 7                               Plaintiff,
 8          -vs-                                           ORDER DENYING MOTION FOR
                                                           REDUCED SENTENCE
 9   RICHARD TRAVER STORRO,
10                               Defendant.
11
12         Pending before the Court is Defendant's Sentence Reduction Request. ECF No. 276.
13   Defendant has exhausted his claim with the Bureau of Prisons [BOP].
14         Mr. Storro must demonstrate that "(i) extraordinary and compelling reasons warrant
15   such a reduction; or (ii) the defendant is at least 70 years of age, has served at least 30 years
16   in prison, pursuant to a sentence imposed under section 3559(c) . . . and a determination has
17   been made by the Director of the Bureau of Prisons that the defendant is not a danger to the
18   safety of any other person or the community, as provided under section 3142(g)." 18 U.S.C.
19   § 3582(c)(1)(A).     As Defendant is not over 70 years old, he must demonstrate that
20   extraordinary and compelling reasons warrant a sentence reduction.
21         Defendant has not demonstrated extraordinary or compelling reasons warranting
22   a sentence reduction. Mr. Storro suffers no ailments putting him at elevated risk of
23   COVID-19 complications.         He is suffering from mental health consequences of the
24   long-term restrictions and lockdowns in place at BOP facilities intended to curb the spread
25   of COVID-19. Though certainly difficult, mental health deterioration due to COVID-19 is
26   not extraordinary. Mr. Storro's underlying conviction was serious; he conspired to distribute
27   a large amount of methamphetamine and was sentenced to 180 months incarceration. He
28   has extensive criminal history that suggests some concerns regarding safety of the public.


     ORDER - 1
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 1   Mr. Storro has not demonstrated extraordinary or compelling reasons supporting his release.
 2   The Court has reviewed the file and Motion and is fully informed. Accordingly,
 3              IT IS ORDERED that Defendant's Sentence Reduction Request, filed October 19,
 4   2020, ECF No. 276, is DENIED.
 5              The District Court Executive is directed to file this Order and provide copies to
 6   counsel.
 7              DATED this 4th day of November, 2020.
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 9                                                   WM. FREMMING NIELSEN
10   11-02-20                                 SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
